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FOR EASTERN DISTRICT OF VIRGINIA

Alexandria Division

IN THE UNITED STATES DISTRICT COURT ff)
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UNITED STATES OF AMERICA
v.

BARRENCE MARK ANTHONY

 

 

 

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Case No. 1:19-MJ-117

AFFIDAVIT IN SUPPORT OF A CRIMINAL
COMPLAINT AND ARREST WARRANT

I, Jamie DeCastro, being first duly sworn, hereby depose and state as follows:

INTRODUCTION AND AGENT BACKGROUND

1. Tama Special Agent (SA) with the Computer Crime Investigative Unit (CCIU) of the U.S.

Army Criminal Investigation Command (“USACIDC”), and have been employed in that position

since December 2016. Previously, for approximately five years, I served as an Information

Assurance Analyst with U.S. Army Cyber Command, Fort Belvoir, VA. In addition to my training

as a criminal investigator, I am trained in computer incident response, digital evidence acquisition,

and computer forensics. I received training from the Department of Defense Cyber Investigations

Training and the Federal Law Enforcement Training Center, and hold a Master’s Degree in

Information Systems Management from Keller Graduate School of Management of DeVry

University.

2. As a Special Agent of USACIDC, I am authorized to investigate crimes involving

violations of the Uniform Code of Military Justice, and other applicable federal laws, where there

is an Army interest, including 18 U.S.C. § 1030 (Computer Fraud and Abuse Act).
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3. The facts in this Affidavit come from my own personal observations, my training and
experience, and information obtained from other agents and witnesses. Because this Affidavit is
for the limited purpose of establishing probable cause for a criminal complaint, it does not set forth
every fact learned in the course of this investigation by me or known to the government.

4. I make this Affidavit in support of an application for a criminal complaint and arrest
warrant in an investigation involving BARRENCE MARK ANTHONY. As set forth herein,
probable cause exists to believe ANTHONY has violated 18 U.S.C. § 1030(a)(2)(C), which
criminalizes intentionally accessing a computer without authorization and obtaining information
from a protected computer that exceeds $5,000 and that was committed in furtherance of any

criminal act in violation of the laws of any state.
SUMMARY OF PROBABLE CAUSE

5. On or about January 25, 2016, ANTHONY became a Systems Engineer with VICTIM
COMPANY. VICTIM COMPANY is located in Arlington, Virginia in the Crystal City
neighborhood, which is in the Eastern District of Virginia. ANTHONY worked for VICTIM
COMPANY in its Crystal City offices. VICTIM COMPANY provides information technology
(IT) engineering services to its customers. On September 29, 2015, VICTIM COMPANY was
awarded a government contract to provide technology services for the maintenance and
customization of the U.S Army’s Office of the Chief of Chaplains’ (OCCH) Army Chaplain Corps
Religious Support System (CCRSS), which remains operational today. VICTIM COMPANY was
contracted to provide these services by building and managing the Financial Management System
(FMS) SharePoint application, hosted on Amazon Web Services (AWS). As part of its contract,
VICTIM COMPANY also provided a support service desk for the Army’s CCRSS users. VICTIM

COMPANY is the only authorized and contracted company for operation of the Army Chaplain

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Corps’ system that resides on the AWS cloud-based infrastructure. Approximately 9,000 users
across the world access the CCRSS, providing a business application for Army Chaplains to
conduct their ministries. The SharePoint application tracks financial transactions resulting from
Army fund distributions in the form of grants and contributions received from church affiliated
gatherings.

6. As part of his responsibilities as a Systems Engineer, ANTHONY had access to network
systems and passwords for the U.S. Army’s Amazon Web Services cloud infrastructure, which
housed servers, operating systems, authentication systems, cyber security monitoring systems,
routing networks, and application services for the Army Chief of Chaplains’ Office in the
Pentagon.

7. The investigation began after a computer user, later identified as ANTHONY, accessed
U.S Army’s Office of the Chief of Chaplains’ (QCCH) Army Chaplain Corps Religious Support
System (CCRSS) network without authorization numerous times between in and around December
2016. This activity began on or about December 7, 2016 -- the day before ANTHONY’s
termination from VICTIM COMPANY ~- and continued after his termination.

8. As explained below, the investigation revealed that in December 2016, ANTHONY
accessed U.S Army’s Office of the Chief of Chaplains’ (OCCH) Army Chaplain Corps Religious
Support System (CCRSS) servers and stole eight machine images by hosting them on his own
personal Amazon Web Services account and disrupted a critical website rendering it unavailable

during a training course.
PROBABLE CAUSE

9. On or about January 25, 2016, ANTHONY began working at VICTIM COMPANY as a

Systems Engineer. As part of his responsibilities as a Systems Engineer, ANTHONY had access

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to network systems and passwords for the U.S. Army’s Amazon Web Services cloud
infrastructure, which housed servers, operating systems, authentication systems, cyber security
monitoring systems, routing networks, and application services for the Army Chief of Chaplains
Office in the Pentagon. The name of the overall System is the Chaplain Corps Religious Support
System (CCRSS), which remains operational today.

10. Normally, multiple VICTIM COMPANY employees have access to the master password
for an encrypted file containing all other CCRSS passwords, but on December 7, 2016,
ANTHONY was the only person with access to that master password. VICTIM COMPANY’s
computer logs show that on that same day, December 7, 2016, all user and administrator accounts
except ANTHONY’s were deleted from the CCRSS application. This action had the impact of
leaving ANTHONY with sole control of the AWS system and locking out all other authorized
users.

11. Later on December 7, 2016, VICTIM COMPANY personnel then tried to retrieve access
to the master password for the encrypted file containing all the other CCRSS passwords by
contacting ANTHONY, but ANTHONY refused to provide access to the file at that time.

12. VICTIM COMPANY provided me with copies of emails from domain name registrar
GoDaddy Inc. to BARRENCE ANTHONY, dated December 7, 2016 and December 8, 2016.
The correspondence included a request from GoDaddy to ANTHONY to verify a requested
change of the registrant for the chaplaincorps.net domain name from “VICTIM COMPANY” to
“Anthony Enterprises.” A request of this nature is only prompted once the requestor initiates a
change to the account. Though ANTHONY was not authorized to make this change, the registrant

was, nonetheless, changed. VICTIM COMPANY’s Incident Response Team, which looked into
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the matter, found that “Anthony Enterprises” had the mailing address for his residence and the
email address barrence_anthony@yahoo.com.

13. Moreover, on the morning of December 8, 2016, 19 files belonging to VICTIM
COMPANY were deleted. Computer log files reveal that “Barrence Anthony” deleted the files.
Two additional files were downloaded from VICTIM COMPANY’s project folder which
contained the crucial CCRSS AWS service account information and network diagram files.

14. Later on December 8, 2016, at approximately 1:30 p.m. EST, VICTIM COMPANY
formally terminated ANTHONY. ANTHONY was told by VICTIM COMPANY via email to
“[please desist use of the VICTIM COMPANY email account henceforth...I remind you that at
your departure, you declined from performing the transition of account information and passwords
I requested from you. Because this information is U.S. Government information under VICTIM
COMPANY ’s custodianship, I recommend that you provide this information immediately to avoid
potentially serious legal infractions... Effective as of our conversation today at 1:30pm, please
note that any attempt to login to the CCRSS systems or AWS architecture is unauthorized
access. As with the U.S Government information mentioned earlier herein, I remind you these are
federal government systems and unauthorized use or access may constitute serious legal
infractions. Thanks in advance for your prompt cooperation.” The emphasis in this paragraph is
your affiant’s.

15. Records obtained from VICTIM COMPANY show ANTHONY continued to disrupt U.S
Ammy’s Office of the Chief of Chaplains’ (OCCH) Army Chaplain Corps Religious Support
System (CCRSS) computer network systems on December 8, 2016 after he was terminated and
notified that any additional activity on the U.S Army’s Office of the Chief of Chaplains’ (OCCH) ©

Army Chaplain Corps Religious Support System (CCRSS) network would be unauthorized access.
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On or about the evening of December 8, 2016, the defendant BARRENCE ANTHONY made
sixteen backup images of the U.S. Army’s CCRSS web application, which included the intellectual
property of the servers and all servers and web applications. The backup images, known as
Amazon Machine Images or AMIs, were then shared, without authorization from VICTIM
COMPANY, with Amazon Web Services account #779908447613. An AMI is a duplicate of a
server instantiation and its hosted applications that provides the information required to recreate
the U.S. Army Chaplain Corps’ enterprise, applications and the CCRSS. Amazon Inc. provided
information showing that AWS account #779908447613 belonged to the defendant BARRENCE
ANTHONY and that the registration address for that account corresponded to thé defendant
BARRANCE ANTHONY’s residential address.

16. The VICTIM COMPANY has revealed that the information on the AMI’s that
ANTHONY shared with his AWS accounts is valued at $1,136,548.82. In addition,
ANTHONY’s unauthorized taking of the AMT’s without authorization constituted Grand Larceny
in violation of Virginia Code Ann. § 18.2-95.

17. Moreover, log files provided by VICTIM COMPANY show that on or about 8:53 p.m.
(EST) on December 8, 2016, after ANTHONY was terminated, but while he possessed the sole
administrator account on the system, a “Sysprep” command against a test server named
CARSSTS02 that was part of the U.S. Army CCRSS Web Application system on the AWS cloud-
based infrastructure was executed. A Sysprep command wipes out all information on a particular
server. That is what happened here. Since there were not any backups of the CARSSTS02 test
server, all information on this server was lost, causing VICTIM COMPANY engineers to have to
rebuild another test server. Because ANTHONY had sole administrative access, there is probable

cause to believe that he initiated the Sysprep command.
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18. While VICTIM COMPANY was able to regain access to its systems by December 11,
2016, there is probable cause to believe that ANTHONY continued to disrupt U.S Army’s Office
of the Chief of Chaplains’ (OCCH) Army Chaplain Corps Religious Support System (CCRSS)
networks. For example, server logs provided by VICTIM COMPANY tevealed that from
_ approximately December 11, 2016 through December 22, 2016, the U.S. Army CCRSS Web
Application system hosted on the AWS cloud-based infrastructure sustained 37,439 brute force
cyber-attacks, causing the system to be inaccessible. This was due to attacks from multiple
accounts, three of which include: “BarrenceAnthony,” “Ba rence “Anthony” and
“CHAPLAINCORPSXbanlhony” The brute force attacks necessitated a shutdown of a server that
provides access to the Army’s CCRSS enterprise for System Administrators, as well as being an
email relay for users in the Chaplain community; this server was off-line for more than two weeks
as a result of the attack.

19. Additionally, computer logs also showed a login to the SharePoint application and the
CARSSSTS02.chaplaincorps.net server after ANTHONY was terminated. Furthermore, as a
result of ANTHONY’s continued interference with U.S Army’s Office of the Chief of Chaplains’
(OCCH) Army Chaplain Corps Religious Support System (CCRSS) systems, a critical website
was unavailable during a training course. On December 12, 2016, the Chaplain Center & School
was scheduled to provide the Chaplaincy Resource Management course (part of the OCCH-
CCRSS, managed by VICTIM COMPANY) to 19 students at Fort Jackson, SC. However, the
website used for the course was unavailable that morning. Approximately seven hours of training

time was lost due to the outage.
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INTERVIEW WITH BARRENCE ANTHONY

20.On September 18, 2018 ANTHONY was interviewed in a non-custodial setting.
ANTHONY participated in a visual and audio statement, where he admitted to deleting files from
the U.S. Army Chaplain Corps SharePoint site and controlling access into the VICTIM
COMPANY Amazon Web Services account that hosts servers for the U.S. Army Chaplain Corps
mission. He also admitted cross-account sharing those Amazon Machine Images from VICTIM
COMPANY ’s account with his personal Amazon Web Services account registered to Anthony
Enterprises. Additionally, ANTHONY admitted to converting VICTIM COMPANY’s account
information to his own, and admitted his motivations for the disruption and damage to VICTIM
COMPANY were his efforts to punish the company for his termination.

CONCLUSION

Based on the foregoing, I believe that there is probable cause to support the attached complaint
charging BARRENCE ANTHONY with a violation of Title 18, United States Code, Section

1030(a)(2)(C) and the associated arrest warrant.

   
  

ECASTRO, Special Agent
.S. Army Criminal Investigation Command

Subscribed and sworn to before me on March ” 2019.

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resa Carroll Buchanan
(jemi Magistrate Judge

Honorable Theresa C. Buchanan
United States Magistrate Judge
Alexandria, Virginia
